                                  Case 8-11-76333-ast                         Doc 1             Filed 09/06/11                        Entered 09/06/11 11:53:11

B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                          Eastern District of New York                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Frazzitta, Rosaria


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA Sarah Frazzitta



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-1355
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  62 Kendrick Lane
  Huntington Station, NY
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         11746
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Suffolk
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                        Case 8-11-76333-ast                    Doc 1        Filed 09/06/11                Entered 09/06/11 11:53:11

B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Frazzitta, Rosaria
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Kenneth Halpern, Esq.                        September 6, 2011
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Kenneth Halpern, Esq.

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(4/10)                                                                                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Frazzitta, Rosaria
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Rosaria Frazzitta                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Rosaria Frazzitta

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     September 6, 2011
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Kenneth Halpern, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Kenneth Halpern, Esq.                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Kenneth Halpern, Esq.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      666 Old Country Road, Suite 701
      Garden City, NY 11530                                                                    Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (516) 222-1199 Fax: (516) 222-4585
     Telephone Number
     September 6, 2011
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                 Eastern District of New York
 In re     Rosaria Frazzitta                                                                     Case No.
                                                                             Debtor(s)           Chapter    7




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:         /s/ Rosaria Frazzitta
                                                                               Rosaria Frazzitta
                                                  Date:          September 6, 2011




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                                                 UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NEW YORK


                                                    STATEMENT PURSUANT TO LOCAL
                                                      BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                Rosaria Frazzitta                                                           CASE NO.:.

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1. CASE NO.:                  JUDGE:                DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                  JUDGE:                DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                  JUDGE:                DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
                                                                                (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):           Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Kenneth Halpern, Esq.
Kenneth Halpern, Esq.
Signature of Debtor's Attorney                                                  Signature of Pro Se Debtor/Petitioner
Kenneth Halpern, Esq.
666 Old Country Road, Suite 701
Garden City, NY 11530
(516) 222-1199 Fax:(516) 222-4585                                               Signature of Pro Se Joint Debtor/Petitioner


                                                                                Mailing Address of Debtor/Petitioner


                                                                                City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                   Rev.8/11/2009
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                 Eastern District of New York
 In re          Rosaria Frazzitta                                                                          Case No.
                                                                                                     ,
                                                                                    Debtor
                                                                                                           Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                  750,000.00


B - Personal Property                                     Yes             3                     9,008.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                          313,000.00


E - Creditors Holding Unsecured                           Yes             1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             8                                          210,684.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       1,400.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       1,424.10
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                19


                                                                    Total Assets             759,008.00


                                                                                      Total Liabilities              523,684.00




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                 Eastern District of New York
 In re           Rosaria Frazzitta                                                                                  Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                 0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                                0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       1,400.00

             Average Expenses (from Schedule J, Line 18)                                                     1,424.10

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        1,400.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                         0.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                          210,684.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      210,684.00




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                         Case 8-11-76333-ast                      Doc 1     Filed 09/06/11       Entered 09/06/11 11:53:11


B6A (Official Form 6A) (12/07)


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 In re         Rosaria Frazzitta                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
               Description and Location of Property                       Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

Residence                                                                 Debtor owns l/3 interest       J                  750,000.00               313,000.00
62 Kendrick Lane
Huntington Station, NY 11746




                                                                                                     Sub-Total >            750,000.00       (Total of this page)

                                                                                                             Total >        750,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                     (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Rosaria Frazzitta                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Chase Bank                                                        -                              0.00
      accounts, certificates of deposit, or               Checking account
      shares in banks, savings and loan,                  Balance nil
      thrift, building and loan, and
      homestead associations, or credit                   Bank of America                                                   -                              0.00
      unions, brokerage houses, or                        Checking account
      cooperatives.                                       Balance nil

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household furnishings                                             -                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                          -                           750.00

7.    Furs and jewelry.                                   Miscellaneous jewelry, including watches, rings                   -                           500.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >            2,250.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Rosaria Frazzitta                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    401K                                                              -                        6,758.00
    other pension or profit sharing
    plans. Give particulars.                              Share of husband's retirement account                             -                      Unknown

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                    Child support and maintenance                                     -                              0.00
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >            6,758.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Rosaria Frazzitta                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
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                                                                                                                                 Total >           9,008.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         Rosaria Frazzitta                                                                                    Case No.
                                                                                                         ,
                                                                                       Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                         Each Exemption                            Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Real Property
Residence                                                                 NYCPLR § 5206                                        150,000.00                       750,000.00
62 Kendrick Lane
Huntington Station, NY 11746

Household Goods and Furnishings
Household furnishings                                                     NYCPLRA 5205(a)                                          1,000.00                         1,000.00

Wearing Apparel
Clothing                                                                  NYCPLR § 5205(a)(5)                                        750.00                            750.00

Furs and Jewelry
Miscellaneous jewelry, including watches, rings                           NYCPLR § 5205(a)(6)                                        500.00                           500.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401K                                                Debtor & Creditor Law § 282(2)(e)                                              6,758.00                         6,758.00

Share of husband's retirement account                                     Debtor & Creditor Law § 282(2)(e)                      Unknown                          Unknown

Alimony, Maintenance, Support, and Property Settlements
Child support and maintenance                     NYCPLR § 5205(d)(3)                                                            Unknown                                  0.00




                                                                                                         Total:                 159,008.00                       759,008.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re        Rosaria Frazzitta                                                                                          Case No.
                                                                                                             ,
                                                                                            Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                       C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                           O                                                              O    N   I
                                                       D   H          DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
          AND MAILING ADDRESS                          E                                                              T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                         B   W             NATURE OF LIEN, AND                          I    Q   U                             PORTION, IF
                                                       T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                           O                                                              G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                           C                 OF PROPERTY
                                                       R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. 1835208209                                         First mortgage                                              E
                                                                                                                           D

CHASE HOME FINANCE LLC                                       Residence
10790 RANCHO BERNARDO RD                                     62 Kendrick Lane
San Diego, CA 92127                                          Huntington Station, NY 11746
                                                           - Date incurred: 2/08

                                                               Value $                               750,000.00                         313,000.00                         0.00
Account No.




                                                               Value $
Account No.




                                                               Value $
Account No.




                                                               Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                      313,000.00                         0.00
                                                                                                          (Total of this page)
                                                                                                                    Total               313,000.00                         0.00
                                                                                          (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Rosaria Frazzitta                                                                                                  Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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 B6F (Official Form 6F) (12/07)


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  In re         Rosaria Frazzitta                                                                                        Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 3717-234459-31007                                                 REVOLVING CREDIT                                              T   T
                                                                                                                                                E
                                                                              DATE INCURRED:                                                    D

AMERICAN EXPRESS
P O BOX 2855                                                              - BALANCE APPROXIMATE
New York, NY 10116

                                                                                                                                                                       1,270.00
Account No. A52472                                                            DUPLICATE

AMERICAN EXPRESS
C/O REDLINE RECOVER                                                       -
11675 RAINWATER DRIVE
SUITE 350
Alpharetta, GA 30009                                                                                                                                                         0.00
Account No. xxxx 1602                                                         POSSIBLE LIABILITY ON CREDIT CARD

BANK OF AMERICA
P O BOX 15714                                                             -
Wilmington, DE 19886

                                                                                                                                                                       5,763.00
Account No. 5049-9040-0209-6878                                               REVOLVING CREDIT
                                                                              DATE INCURRED:
BILL ME LATER
P O BOX 105658                                                            -
Atlanta, GA 30348

                                                                                                                                                                       1,173.00

                                                                                                                                        Subtotal
 7
_____ continuation sheets attached                                                                                                                                     8,206.00
                                                                                                                              (Total of this page)




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                          Case 8-11-76333-ast                      Doc 1           Filed 09/06/11              Entered 09/06/11 11:53:11


 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                     B                                                               I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 17370129                                                          DUPLICATE                                                  E
                                                                                                                                         D

BILL ME LATER
C/O TATE & KIRLIN                                                         -
2810 SOUTHAMPTON ROADQ
Philadelphia, PA 19154
                                                                                                                                                                   0.00
Account No. 5049-9040-0209-6878                                               DUPLICATE

BILL ME LATER
C/O ACI                                                                   -
2420 SWEET HOME ROAD
Buffalo, NY 14228
                                                                                                                                                                   0.00
Account No. 6011-6444-2015-3701                                               REF # 014775932
                                                                              DATE INCURRED:
CHILDREN'S PLACE/CITIBANK
C/O LTD FINANCIAL                                                         -
7322 SW FREEWAY
SUITE 1600
Houston, TX 77074                                                                                                                                              417.00
Account No. 6011-6444-2015-3701                                               REF # 0187

CHILDREN'S PLACE/CITIBANK                                                     DUPLICATE
C/O CBE GROUP                                                             -
1309 TECHNOLOGY PKWAY
Cedar Falls, IA 50613
                                                                                                                                                                   0.00
Account No.                                                                   REVOLVING CREDIT
                                                                              DATE INCURRED:
CITIBANK SOUTH DAKOTA NA
701 E 60TH ST N                                                           -
Sioux Falls, SD 57117

                                                                                                                                                             3,192.00

           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             3,609.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                          Case 8-11-76333-ast                      Doc 1           Filed 09/06/11              Entered 09/06/11 11:53:11


 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                    T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. FILE #: 330071985388101                                           DUPLICATE                                                  E
                                                                                                                                         D

CITIBANK SOUTH DAKOTA NA
C/O FORSTER & GARBUS                                                      -
500 BI COUNTY BLVD
Farmingdale, NY 11735
                                                                                                                                                                   0.00
Account No.                                                                   REVOLVING CREDIT
                                                                              DATE INCURRED:
CITIBANK SOUTH DAKOTA NA
701 EAST 60TH STREET N                                                    -
Sioux Falls, SD 57117

                                                                                                                                                             8,960.00
Account No. PO13553                                                           DUPLICATE

CITIBANK SOUTH DAKOTA NA
C/O COHEN & SLAMOWITZ                                                     -
199 CROSSWAYS PARK DR
Woodbury, NY 11797
                                                                                                                                                                   0.00
Account No.                                                                   DATE INCURRED:

DEIRDRA SZARMACH
18 HYACINTH COURT                                                         -
Melville, NY 11747

                                                                                                                                                             1,300.00
Account No. 012830035                                                         REVOLVING CREDIT
                                                                              DATE INCURRED:
DEPT STORES NAT'L BANK
CLIENT SERVICES                                                           -
3451 HARRY TRUMAN BLVD
Saint Charles, MO 63301
                                                                                                                                                               220.00

           2
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                           10,480.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                   Legal fee                                                  E
                                                                              Spouse's attorney                                          D

Diane C Carroll, PC
445 Broadhollow Road                                                      -                                                                  X
Suite 228
Melville, NY 11747
                                                                                                                                                            Unknown
Account No.                                                                   Legal fee
                                                                              Debtor's divorce attorney
DiMascio & Associates,LLP
300 Garden City Plaza                                                     -                                                                  X
Suite 306
Garden City, NY 11530
                                                                                                                                                         179,000.00
Account No. 6011-0020-6063-6743                                               REVOLVING CREDIT
                                                                              DATE INCURRED:
DISCOVER
P O BOX 15251                                                             -
Wilmington, DE 19886

                                                                                                                                                             4,952.00
Account No. D107498                                                           DUPLICATE

DISCOVER
C/O COHEN & SLAMOWITZ                                                     -
P O BOX 9012
Woodbury, NY 11797
                                                                                                                                                                   0.00
Account No. 2892661                                                           DUPLICATE

DSNB
C/O OMNI CREDIT                                                           -
P O BOX 23381
Tampa, FL 33623
                                                                                                                                                                   0.00

           3
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                         183,952.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                    T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
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Account No.                                                                   MEDICAL                                                    E
                                                                              DATE INCURRED:                                             D

GOOD SAMARITAN HOSPITAL
P O BOX 5934                                                              -
New York, NY 10087

                                                                                                                                                                 66.00
Account No. GS088117610090                                                    DUPLICATE

GOOD SAMARITAN HOSPITAL
C/OLAW OFFICE EMILY RUBEN                                                 -
55 KENNEDY DRIVE
SUITE 2
Hauppauge, NY 11788                                                                                                                                                0.00
Account No. 6035320548660073                                                  REVOLVING CREDIT
                                                                              DATE INCURRED:
HOME DEPOT
PROCESSING CENTER                                                         -
Des Moines, IA 50364-0500

                                                                                                                                                               527.00
Account No. 6035320548660073                                                  REF #: 013841750
                                                                              DUPLICATE
HOME DEPOT
C/O LTD FINANCIAL                                                         -
7322 SW FREEWAY
SUITE 1600
Houston, TX 77074                                                                                                                                                  0.00
Account No. 14448676VB7841                                                    DUPLICATE

HOME DEPOT
C/O UNITED RECOVERY                                                       -
5800 NORTH COURSE DRIVE
Houston, TX 77072
                                                                                                                                                                   0.00

           4
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                               593.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                          Case 8-11-76333-ast                      Doc 1           Filed 09/06/11              Entered 09/06/11 11:53:11


 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
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                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
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Account No. 20154011                                                          MEDICAL                                                    E
                                                                              DATE INCURRED:                                             D

HUNTINGTON MEDICAL GROUP
P O BOX 10022                                                             -
Uniondale, NY 11555

                                                                                                                                                                 10.00
Account No. 42892339552                                                       DUPLICATE

KOHL'S                                                                        REFERENCE #: 0353821186
C/O PROGRESSIVE FINANCIAL                                                 -
P O BOX 41309
Nashville, TN 37204
                                                                                                                                                                   0.00
Account No. 27137213                                                          REVOLVING CREDIT
                                                                              DATE INCURRED:
Kohl's Chase Bank
N56 W 17000 Ridgewood Dr                                                  -
Menomonee Falls, WI 53051

                                                                                                                                                             1,719.00
Account No.                                                                   REVOLVING CREDIT
                                                                              DATE INCURRED:
MACY'S
9111 Duke Blvd                                                            -
Mason, OH 45040

                                                                                                                                                               526.00
Account No. 2858605                                                           DUPLICATE

MACY'S(DSNB)
C/O OMNI CREDIT                                                           -
P O BOX 23381
Tampa, FL 33623
                                                                                                                                                                   0.00

           5
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             2,255.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                     Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                         C   U   D
                  CREDITOR'S NAME,                                   O                                                               O   N   I
                  MAILING ADDRESS                                    D    H                                                          N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                               E   D   D
                                                                                                                                     N   A
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Account No. DSI 1540675686                                                    DUPLICATE                                                  E
                                                                                                                                         D

MACY'S(DSNB)
C/O LTD FINANCIAL SERVICE                                                 -
7322 SW FREEWAY
SUITE 1600
Houston, TX 77074                                                                                                                                                  0.00
Account No. XXXXXXXXXXX 2835                                                  DUPLICATE

MACY'S(WFNNB)
C/O PLAZA ASSOCIATES                                                      -
P O BOX 18008
Hauppauge, NY 11788
                                                                                                                                                                   0.00
Account No. 689472835                                                         DUPLICATE

MACY'S(WFNNB)
P O BOX 620130                                                            -
Atlanta, GA 30362

                                                                                                                                                                   0.00
Account No.

MAVERICK PROCESS SERVICE
647 FRANKLIN AVENUE                                                       -                                                                  X
SUITE 1-R
Garden City, NY 11530
                                                                                                                                                            Unknown
Account No. XXXXXXXXXXXXXX 2835                                               REVOLVING CREDIT
                                                                              DATE INCURRED:
NEW YORK & COMPANY
P O BOX 659728                                                            -
San Antonio, TX 78265

                                                                                                                                                               851.00

           6
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                               851.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                          Case 8-11-76333-ast                      Doc 1           Filed 09/06/11              Entered 09/06/11 11:53:11


 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosaria Frazzitta                                                                                        Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 92477741 12                                                       DUPLICATE                                                      E
                                                                                                                                             D

NEW YORK & COMPANY
WORLD FINAN.NETWORK NAT'L                                                 -
C/O PLAZA ASSOCIATES
P O BOX 18008
Hauppauge, NY 11788                                                                                                                                                    0.00
Account No. XXXX 8227 AND XXX 8101                                            REVOLVING CREDIT
                                                                              DATE INCURRED:
SEARS
P O BOX 182156                                                            -
Columbus, OH 43218

                                                                                                                                                                Unknown
Account No. XXXX 2685                                                         REVOLVING CREDIT
                                                                              DATE INCURRED:
TOYS R US (CHASE)
P O BOX 15548                                                             -
Wilmington, DE 19886

                                                                                                                                                                   711.00
Account No. XXXX 2685                                                         DUPLICATE

TOYS R US(CHASE)
C/O NORTHSTAR                                                             -
4285 GENESEE ST
CHEEKTOWAGA, NY 14225
                                                                                                                                                                       0.00
Account No. 1082833                                                           MEDICAL
                                                                              DATE INCURRED: 2/9/11
ZWANGER PESIRI RADIOLOGY
P O BOX 1489                                                              -
West Babylon, NY 11704

                                                                                                                                                                     27.00

           7
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                   738.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              210,684.00


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                           Case 8-11-76333-ast                    Doc 1    Filed 09/06/11           Entered 09/06/11 11:53:11


B6G (Official Form 6G) (12/07)


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 In re             Rosaria Frazzitta                                                                           Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                         Case 8-11-76333-ast                      Doc 1   Filed 09/06/11     Entered 09/06/11 11:53:11


B6H (Official Form 6H) (12/07)


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 In re          Rosaria Frazzitta                                                                       Case No.
                                                                                              ,
                                                                               Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                 Frank Frazzitta                                                  JPMorgan/Chase and others




      0
              continuation sheets attached to Schedule of Codebtors
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                    Case 8-11-76333-ast               Doc 1       Filed 09/06/11           Entered 09/06/11 11:53:11



B6I (Official Form 6I) (12/07)
 In re    Rosaria Frazzitta                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               Daughter                                                    10 years
                                             Son                                                         5 years
                                             Son                                                         8 years
Employment:                                               DEBTOR                                                 SPOUSE
Occupation
Name of Employer                     Housewife
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             0.00       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $         1,400.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,400.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,400.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            1,400.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                 Case 8-11-76333-ast           Doc 1      Filed 09/06/11         Entered 09/06/11 11:53:11



B6J (Official Form 6J) (12/07)
 In re    Rosaria Frazzitta                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                     0.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                     0.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                     0.00
                   d. Other Cable, internet and telephone                                                   $                   114.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   675.00
5. Clothing                                                                                                 $                   200.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                    60.00
8. Transportation (not including car payments)                                                              $                   240.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    85.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Household expense paid by former spouse per divorce judgment                                      $                     0.10
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 1,424.10
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 1,400.00
b. Average monthly expenses from Line 18 above                                                              $                 1,424.10
c. Monthly net income (a. minus b.)                                                                         $                   -24.10
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                 Eastern District of New York
 In re      Rosaria Frazzitta                                                                              Case No.
                                                                                   Debtor(s)               Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 6, 2011                                                Signature   /s/ Rosaria Frazzitta
                                                                                   Rosaria Frazzitta
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                          Eastern District of New York
 In re       Rosaria Frazzitta                                                                                    Case No.
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                   AMOUNT                                           SOURCE
Debtor's 2009 Income    0
Spouse's 2009 Income    $83,005                                   Employment

Debtor's 2010 Income                   0

Debtor's 2011 Income to date 0




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                                                                                                                                                            2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                       AMOUNT PAID          OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                       AMOUNT
                                                                                   DATES OF                             PAID OR
                                                                                   PAYMENTS/                          VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                         TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                AMOUNT PAID          OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                           COURT OR AGENCY                         STATUS OR
AND CASE NUMBER                      NATURE OF PROCEEDING                 AND LOCATION                            DISPOSITION
Rosaria Frazzitta v. Frank Frazzitta              Divorce action      Supreme/New York                                     Divorce granted
Citibank South Dakota NA v Rosari Frazzitta       Collection          District Court/Suffolk/First District;Ronkonoma Pending
Citibank South Dakota NA v Rosaria Frazzitta Collection               District Court/NY/Suffolk/2nd District;Babylon Pending
   None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
           property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                   DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                PROPERTY




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                                                                                                                                                             3

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                            OF PROPERTY
 Kenneth Halpern, Esq.                                                            Date Paid: 8/24/11                   Legal Fee: $3,000
 666 Old Country Road, Ste 701                                                    Amount Paid: $2,000
 Garden City, NY 11530




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                                                                                                                                                                4

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY


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                                                                                                                                                             5

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                       DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                 LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.




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                                                                                                                                                                6


                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                              BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                           NATURE OF BUSINESS       ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST


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                                                                                                                                                               7
    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                             NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                        OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                           DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                        DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                       OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                          VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date       9/6/11                                                              Signature    S/Rosaria Frazzitta
                                                                                             Rosaria Frazzitta
                                                                                             Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                          Eastern District of New York
 In re       Rosaria Frazzitta                                                                                           Case No.
                                                                                             Debtor(s)                   Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                            $                  3000
              Prior to the filing of this statement I have received                                                  $                  2000
              Balance Due                                                                                            $                  1000

2.     $     299       of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service as outlined in the retainer agreement

7.     By agreement with the debtor(s), the above-disclosed fee does not include services as outlined in the retainer agreement.

                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       9/6/11                                                                         S/Kenneth Halpern
                                                                                             Kenneth Halpern, Esq.

                                                                                             666 Old Country Road, Suite 701
                                                                                             Garden City, NY 11530
                                                                                             (516) 222-1199 Fax: (516) 222-4585




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B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                 Eastern District of New York
 In re      Rosaria Frazzitta                                                                                Case No.
                                                                                   Debtor(s)                 Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

Property No. 1

Creditor's Name:                                                                    Describe Property Securing Debt:
-NONE-

Property will be (check one):
       Surrendered                                                     Retained

If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

Property is (check one):
       Claimed as Exempt                                                               Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

Property No. 1

Lessor's Name:                                            Describe Leased Property:                        Lease will be Assumed pursuant to 11
-NONE-                                                                                                     U.S.C. § 365(p)(2):
                                                                                                              YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


Date September 6, 2011                                                 Signature   /s/ Rosaria Frazzitta
                                                                                   Rosaria Frazzitta
                                                                                   Debtor




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                                                          United States Bankruptcy Court
                                                                 Eastern District of New York
 In re     Rosaria Frazzitta                                                                                Case No.
                                                                                  Debtor(s)                 Chapter    7




                                           VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


Date: September 6, 2011                                                /s/ Rosaria Frazzitta
                                                                       Rosaria Frazzitta
                                                                       Signature of Debtor

Date: September 6, 2011                                                /s/ Kenneth Halpern, Esq.
                                                                       Signature of Attorney
                                                                       Kenneth Halpern, Esq.
                                                                       Kenneth Halpern, Esq.
                                                                       666 Old Country Road, Suite 701
                                                                       Garden City, NY 11530
                                                                       (516) 222-1199 Fax: (516) 222-4585




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                   AMERICAN EXPRESS
                   P O BOX 2855
                   New York, NY 10116


                   AMERICAN EXPRESS
                   C/O REDLINE RECOVER
                   11675 RAINWATER DRIVE
                   SUITE 350
                   Alpharetta, GA 30009


                   BANK OF AMERICA
                   P O BOX 15714
                   Wilmington, DE 19886


                   BILL ME LATER
                   P O BOX 105658
                   Atlanta, GA 30348


                   BILL ME LATER
                   C/O TATE & KIRLIN
                   2810 SOUTHAMPTON ROADQ
                   Philadelphia, PA 19154


                   BILL ME LATER
                   C/O ACI
                   2420 SWEET HOME ROAD
                   Buffalo, NY 14228


                   CHASE HOME FINANCE LLC
                   10790 RANCHO BERNARDO RD
                   San Diego, CA 92127


                   CHILDREN'S PLACE/CITIBANK
                   C/O LTD FINANCIAL
                   7322 SW FREEWAY
                   SUITE 1600
                   Houston, TX 77074


                   CHILDREN'S PLACE/CITIBANK
                   C/O CBE GROUP
                   1309 TECHNOLOGY PKWAY
                   Cedar Falls, IA 50613


                   CITIBANK SOUTH DAKOTA NA
                   701 E 60TH ST N
                   Sioux Falls, SD 57117
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               CITIBANK SOUTH DAKOTA NA
               C/O FORSTER & GARBUS
               500 BI COUNTY BLVD
               Farmingdale, NY 11735


               CITIBANK SOUTH DAKOTA NA
               701 EAST 60TH STREET N
               Sioux Falls, SD 57117


               CITIBANK SOUTH DAKOTA NA
               C/O COHEN & SLAMOWITZ
               199 CROSSWAYS PARK DR
               Woodbury, NY 11797


               DEIRDRA SZARMACH
               18 HYACINTH COURT
               Melville, NY 11747


               DEPT STORES NAT'L BANK
               CLIENT SERVICES
               3451 HARRY TRUMAN BLVD
               Saint Charles, MO 63301


               Diane C Carroll, PC
               445 Broadhollow Road
               Suite 228
               Melville, NY 11747


               DiMascio & Associates,LLP
               300 Garden City Plaza
               Suite 306
               Garden City, NY 11530


               DISCOVER
               P O BOX 15251
               Wilmington, DE 19886


               DISCOVER
               C/O COHEN & SLAMOWITZ
               P O BOX 9012
               Woodbury, NY 11797


               DSNB
               C/O OMNI CREDIT
               P O BOX 23381
               Tampa, FL 33623
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               Frank Frazzitta



               GOOD SAMARITAN HOSPITAL
               P O BOX 5934
               New York, NY 10087


               GOOD SAMARITAN HOSPITAL
               C/OLAW OFFICE EMILY RUBEN
               55 KENNEDY DRIVE
               SUITE 2
               Hauppauge, NY 11788


               HOME DEPOT
               PROCESSING CENTER
               Des Moines, IA 50364-0500


               HOME DEPOT
               C/O LTD FINANCIAL
               7322 SW FREEWAY
               SUITE 1600
               Houston, TX 77074


               HOME DEPOT
               C/O UNITED RECOVERY
               5800 NORTH COURSE DRIVE
               Houston, TX 77072


               HUNTINGTON MEDICAL GROUP
               P O BOX 10022
               Uniondale, NY 11555


               KOHL'S
               C/O PROGRESSIVE FINANCIAL
               P O BOX 41309
               Nashville, TN 37204


               Kohl's Chase Bank
               N56 W 17000 Ridgewood Dr
               Menomonee Falls, WI 53051


               MACY'S
               9111 Duke Blvd
               Mason, OH 45040
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               MACY'S(DSNB)
               C/O OMNI CREDIT
               P O BOX 23381
               Tampa, FL 33623


               MACY'S(DSNB)
               C/O LTD FINANCIAL SERVICE
               7322 SW FREEWAY
               SUITE 1600
               Houston, TX 77074


               MACY'S(WFNNB)
               C/O PLAZA ASSOCIATES
               P O BOX 18008
               Hauppauge, NY 11788


               MACY'S(WFNNB)
               P O BOX 620130
               Atlanta, GA 30362


               MAVERICK PROCESS SERVICE
               647 FRANKLIN AVENUE
               SUITE 1-R
               Garden City, NY 11530


               NEW YORK & COMPANY
               P O BOX 659728
               San Antonio, TX 78265


               NEW YORK & COMPANY
               WORLD FINAN.NETWORK NAT'L
               C/O PLAZA ASSOCIATES
               P O BOX 18008
               Hauppauge, NY 11788


               SEARS
               P O BOX 182156
               Columbus, OH 43218


               TOYS R US (CHASE)
               P O BOX 15548
               Wilmington, DE 19886
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               TOYS R US(CHASE)
               C/O NORTHSTAR
               4285 GENESEE ST
               CHEEKTOWAGA, NY 14225


               ZWANGER PESIRI RADIOLOGY
               P O BOX 1489
               West Babylon, NY 11704
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  B22A (Official Form 22A) (Chapter 7) (12/10)

In re      Rosaria Frazzitta
                                    Debtor(s)                                      According to the information required to be entered on this statement
Case Number:                                                                         (check one box as directed in Part I, III, or VI of this statement):
                               (If known)                                                  The presumption arises.
                                                                                           The presumption does not arise.
                                                                                           The presumption is temporarily inapplicable.


                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                        AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                             Part I. MILITARY AND NON-CONSUMER DEBTORS
            Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
            Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
            VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
            38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
            101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
            Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B      Do not complete any of the remaining parts of this statement.
                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
            Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
            2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
            at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
            days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
            required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
            temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
            are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
            which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
            before your exclusion period ends.
               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C      that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
            National Guard

                                   a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                    I remain on active duty /or/
                                                    I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                   filed;

                                                OR

                                   b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                          I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                        540 days before this bankruptcy case was filed.




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  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                             2

                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
            b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                  "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2            purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                  for Lines 3-11.
            c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                  ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            All figures must reflect average monthly income received from all sources, derived during the six          Column A           Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's           Spouse's
            six-month total by six, and enter the result on the appropriate line.                                       Income             Income

     3      Gross wages, salary, tips, bonuses, overtime, commissions.                                            $            0.00 $
            Income from the operation of a business, profession or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 4. If you operate more than one
            business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
            not enter a number less than zero. Do not include any part of the business expenses entered on
     4      Line b as a deduction in Part V.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $               0.00 $
             b.     Ordinary and necessary business expenses $                   0.00 $
             c.     Business income                              Subtract Line b from Line a               $                   0.00 $
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                Debtor                Spouse
             a.    Gross receipts                              $                0.00 $
             b.    Ordinary and necessary operating expenses $                  0.00 $
             c.    Rent and other real property income         Subtract Line b from Line a                        $            0.00 $
     6      Interest, dividends, and royalties.                                                                   $            0.00 $
     7      Pension and retirement income.                                                                        $            0.00 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     8      purpose. Do not include alimony or separate maintenance payments or amounts paid by your
            spouse if Column B is completed. Each regular payment should be reported in only one column;
            if a payment is listed in Column A, do not report that payment in Column B.                    $              1,400.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $             0.00 Spouse $                        $            0.00 $
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Do not include alimony or separate maintenance payments paid by your
            spouse if Column B is completed, but include all other payments of alimony or separate
            maintenance. Do not include any benefits received under the Social Security Act or payments
            received as a victim of a war crime, crime against humanity, or as a victim of international or
    10      domestic terrorism.
                                                                       Debtor                   Spouse
             a.                                                  $                      $
             b.                                                  $                      $
            Total and enter on Line 10                                                                            $            0.00 $
    11      Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
            Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                1,400.00 $



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            Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12      Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
            the amount from Line 11, Column A.                                                                  $                           1,400.00

                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13      Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
            enter the result.                                                                                                     $        16,800.00
            Applicable median family income. Enter the median family income for the applicable state and household size.
    14      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                NY      b. Enter debtor's household size:          4            $        83,942.00
            Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                   Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16      Enter the amount from Line 12.                                                                                        $
            Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
            Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
            dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
            spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
            amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17      not check box at Line 2.c, enter zero.
             a.                                                                         $
             b.                                                                         $
             c.                                                                         $
             d.                                                                         $
            Total and enter on Line 17                                                                                            $
    18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
            Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A      at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
            that would currently be allowed as exemptions on your federal income tax return, plus the number of any
            additional dependents whom you support.                                                                              $
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
            Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                         Persons under 65 years of age                         Persons 65 years of age or older
             a1.     Allowance per person                            a2.      Allowance per person
             b1.     Number of persons                               b2.      Number of persons
             c1.     Subtotal                                        c2.      Subtotal                                           $
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                           $



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            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B      debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
            not enter an amount less than zero.
             a.    IRS Housing and Utilities Standards; mortgage/rental expense $
             b.    Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                               $
             c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
            20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                    $
            Local Standards: transportation; vehicle operation/public transportation expense.
            You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
            vehicle and regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
            included as a contribution to your household expenses in Line 8.
   22A
                  0     1       2 or more.
            If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B      you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)
                  1     2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
            Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 23. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       1, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a.                     $
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 23.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 24. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       2, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a.                     $
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25      state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




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                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
       26       deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
       27       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                        $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
       28       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                       $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
       29       the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

       30       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                       $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
       31       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                 $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
       32       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                  $
       33       Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                 $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
       34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                       $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
       35       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                           $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
       36       actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                        $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
       37       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or secondary
       38       school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                       $
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                             $

    40      Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
            financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $

                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42      and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
            amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
            bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
            Average Monthly Payments on Line 42.
                  Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                        Payment include taxes
                                                                                                                  or insurance?
              a.                                                                            $                        yes no
                                                                                                Total: Add Lines                  $
            Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
              a.                                                                              $
                                                                                                              Total: Add Lines    $
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 28.                                                    $
            Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
            chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $
    45       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x
             c.       Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b         $
    46      Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $

                                                      Subpart D: Total Deductions from Income
    47      Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                       Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $

    51      60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
            result.                                                                                                               $




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                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
      56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.

                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
      57                      Date: September 6, 2011                                       Signature: /s/ Rosaria Frazzitta
                                                                                                         Rosaria Frazzitta
                                                                                                                    (Debtor)




*   Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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